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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                             Case No. 19CRIM366

                       Plaintiff,                    MOTION FOR ADMISSION PRO HAC
                                                     VICE OF JEREMY D. MARGOLIS
               v.

STEPHEN M. CALK,

                       Defendant.



       Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, I, Jeremy D. Margolis, hereby move this Court for an Order for

admission to practice Pro Hac Vice to appear as counsel for Defendant Stephen M. Calk, in the

above-captioned action. Per Judge’s Rule 111(C)(1), on June 7, 2019 via email, opposing counsel

consents to this motion.

       I am in good standing of the bar of the state of Illinois and there are no pending

disciplinary proceedings against me in any state or federal court.

 Date: June 11, 2019                              Respectfully Submitted,

                                                  /s/ Jeremy D, Margolis
                                                  Jeremy D. Margolis
                                                  Loeb & Loeb LLP
                                                  321 North Clark Street
                                                  Suite 2300
                                                  Chicago, Illinois 60654
                                                  Telephone: 312-464-3100
                                                  Facsimile: 312-464-3111
                                                  imargolis@loeb.com

                                                  Attorney for Defendant Stephen M. Calk
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

                        Plaintiff,                       Case No. 19 CRIM366

                -against-                                AFFIRMATION OF JEREMY D.
                                                         MARGOLIS IN SUPPORT OF MOTION
STEPHEN M. CALK                                          FOR ADMISSION PRO HAC VICE OF

                        Defendant.

         Jeremy D. Margolis, an attorney duly admitted to practice law in the State of Illinois

hereby deposes and says as follows under penalties of perjury:

         1.     I am a partner with the law firm of:

                Loeb & Loeb LLP
                321 N. Clark Street, Suite 2300
                Chicago, IE 60654
                Telephone: 312-464-3100
                Facsimile: 312-277-8957
                imargolis@loeb.com

         2.     I submit this affidavit in support of my motion for admission to practice pro hac

vice in the above-captioned matter.

         3.     As shown in the Certificate of Good Standing annexed hereto I am a member in

good standing of the Bar of the State of Illinois.

         4.     There are no pending disciplinary proceedings against me in any State or Federal

Court.

         5.     I have not been convicted of a felony.

         6.     I have not been censured, suspended, disbarred or denied admission or

readmission by any court.




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       7.     Wherefore your affiant respectfully submits that he be permitted to appear as

counsel and advocate pro hac vice in this one case for Defendant Stephen M. Calk.



 Dated: June 11, 2019
                                             /s/ Jeremy D, Margolis_______
                                             Jeremy D. Margolis
                                             Loeb & Loeb, LLP
                                             321 N. Clark Street, Suite 2300
                                             Chicago, IL 60654
                                             Telephone: 312-464-3100
                                             Facsimile: 312-277-8957
                                             imargolis@loeb.com




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
                                                          Case No. 19CRIM366
                       Plaintiff,
                                                          ORDER FOR ADMISSION PRO HAC
               v.                                         VICE OF JEREMY D. MARGOLIS

STEPHEN M. CALK,

                       Defendant.



                         ORDER FOR ADMISSION PRO HAC VICE


       The motion of Jeremy D.Margolis, for admission to practice Pro Hac Vice in the above
captioned action is granted.
       Applicant has declared that he is a member in good standing of the bar(s) of the state(s)
of Illinois; and his contact information is as follows:


       Jeremy D. Margolis
       Loeb & Loeb LLP
       321 N. Clark Street, Suite 2300
       Chicago, IE 60654
       Telephone: 312-464-3100 Fax: 312-277-8957
       Email: imargolis@loeb.com


       Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel
for Stephen M. Calk in the above entitled action;

       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in
the above captioned case in the United States District Court for the Southern District of New
York. All attorneys appearing before this Court are subject to the Local Rules of this Court,
including the Rules governing discipline of attorneys.
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Dated: June 11, 2019


                                        Judge
